     Case 2:20-cv-10793-VAP-GJS Document 11-1 Filed 03/01/21 Page 1 of 1 Page ID #:78




 1
 2
 3
 4
 5
 6
 7
                               UNITED STATES DISTRICT COURT
 8
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
 9
                                      WESTERN DIVISION
10
       OSCAR ENRIQUE NUNEZ                         No. 2:20-cv-10793-VAP-(GJSx)
11     EUCEDA,
                                                   [proposed]
12                Plaintiff,
                                                   ORDER GRANTING DEFENDANT’S
13                       v.                        MOTION TO DISMISS COMPLAINT
                                                   AND ACTION
14 UNITED STATES OF AMERICA,
                                                   Hearing Date:     March 29, 2021
15               Defendant.                        Hearing Time:     2:00 p.m.
                                                   Courtroom:        8A, First Street
16                                                                   Courthouse
17
18
19
20          Defendant United States of America’s Motion to Dismiss Plaintiff’s Complaint and
21    Action came before the Court on March 29, 2021. The Court, having considered the
22    arguments and authorities of the parties, hereby GRANTS Defendant’s Motion. Plaintiff
23    has failed to demonstrate that the Court has subject matter over this action and that the
24    Complaint states an actionable claim. See 28 U.S.C. §§ 1346(b)(1), 2680(a). IT IS SO
25    ORDERED.
26          Dated:
27                                                UNITED STATES DISTRICT JUDGE
28
